              Case 2:10-cr-00437-WBS Document 125 Filed 07/25/11 Page 1 of 2


     Tim Warriner (SB#166128)
1    Attorney at Law
     660 J St., Suite 390
2    Sacramento, CA 95814
     (916) 443-7141
3
     Attorney for Defendant,
4    Derick Noble
5
                                  UNITED STATES DISTRICT COURT
6
                          FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                                      ) Case No. 10-cr-00437 WBS
     UNITED STATES OF AMERICA,                         )
9                                                      ) STIPULATION AND ORDER
                    Plaintiff,                         ) CONTINUING STATUS CONFERENCE
10                                                     )
            vs.                                        )
11                                                     )
     DERICK NOBLE,                                     )
12                                                     )
                    Defendant.                         )
13

14
            It is hereby stipulated between the parties, Jill Thomas, Assistant United States Attorney,
15
     and Timothy E. Warriner, attorney for defendant Derick Noble, that the status conference date of
16
     Monday, July 25, 2011 should be continued until Monday, September 26, 2011. The continuance
17
     is necessary as counsel is engaging in plea negotiations, and is reviewing documentary and other
18

19   evidence including wire recordings. The date of September 26, 2011 is selected as that is the date

20   of the status conference for the co-defendants.

21          IT IS STIUPULATED that the period of time from July 25, 2011 up to and including
22
     September 26, 2011 be excluded in computing the time within which the trial must commence
23
     under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and Local Code T4, for ongoing
24
     preparation of counsel.
25

26

                                                       1
             Case 2:10-cr-00437-WBS Document 125 Filed 07/25/11 Page 2 of 2


     DATED: July 21, 2011                               /s/ Timothy E. Warriner, Attorney for
1
                                                        Defendant, Derick Noble
2
     DATED: July 21, 2011                               /s/ Jill Thomas, Assistant U.S. Attorney
3

4
                                                ORDER
5
            GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, it is hereby
6

7    ordered that the status conference scheduled for Monday, July 25, 2011 at 8:30 a.m. be continued

8    to Monday, September 26, 2011 at 8:30 a.m., and that the period from July 25, 2011 to

9    September 26, 2011 be excluded from calculation under the Speedy Trial Act pursuant to 18
10
     U.S.C. §3161(h)(8)(A) and Local Code T4.
11
     DATED: July 22, 2011
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                    2
